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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF MARYLAND
                                 Greenbelt Division

IN RE:                                       )
                                             )
PARKING MANAGEMENT, INC.                     )      Case No. 20-15026-TJC
                                             )      Chapter 11 (Subchapter V)
               Debtor                        )

                            DECLARATION OF JOLENE WEE
                         IN SUPPORT OF PLAN CONFIRMATION

       I, Jolene Wee, hereby declare under penalty of perjury:

       1.      This Declaration is submitted in support of the Debtor’s Amended Plan of

Reorganization (the “Plan”).

       2.      JW Infinity Consulting, LLC (“JWI”) and I were retained as Financial Advisor to

the Debtor.

       3.      I am the managing member and founder of JWI.

       4.      I hold a BS, Business Administration, and a BA, Mathematics from Berea College

and a Master of Business Administration (MBA) from Miami University of Ohio.

       5.      I also hold a Certified Insolvency & Restructuring Advisor (CIRA) professional

designation.

       6.      I am a trustee in the subchapter V Chapter 11 trustee pool in Regions 2 and 4.

       7.      All of the financial advisor work conducted in this Chapter 11 proceeding has

been done by me or professionals working under my direct supervision.

       8.      I, with the assistance of professionals working under my direct supervision,

prepared the liquidation analysis (“Liquidation Analysis”) and cash flow projections

(“Projections”) attached to the Debtor’s Plan.
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       9.      As shown in the Liquidation Analysis, general unsecured creditors will receive

more under the Debtor’s Plan than they would in a Chapter 7 liquidation.

       10.     The Projections are based upon financial information that was provided to me by

the Debtor and its employees as well as my own financial analysis.

       11.     The Projections for the Plan filed on August 28, 2020 had estimated the total

amount of general unsecured claims of $12,208,001.

       12.     The Projections in the Plan filed on October 26, 2020 reflected estimated total

general unsecured claims of $15,399,590. The amount of general unsecured claims primarily

changed due to: (1) certain contracts to be rejected in the amended Plan which moved claims

from cure payments to general unsecured claims; (2) a settlement with JBGS Management OP,

L.P. which reduced its general unsecured claim to $800,000; and (3) a change in the PPP loan

forgiveness estimate.

       13.     Based upon the Projections, the Debtor will be able to make all payments under

the Plan which provides that creditors will receive in excess of the Debtor’s projected disposable

income, paid to the creditors over thirty six months.

       14.     While the Debtor’s disposable income may fluctuate depending on the economy

and other factors, the Plan provides that all disposable income will be distributed to creditors.

The Projections estimate that over thirty six months, general unsecured creditors will receive

distributions equal to 32 cents on the dollar and if the PPP loan is forgiven, such distributions

may increase to 35 cents on the dollar under the Plan.




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                                    I declare under the penalty of perjury that the
                                    forgoing Declaration is true and correct.



                                    Jolene Wee

Dated: November 2, 2020




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